       Case: 1:21-cv-02215 Document #: 23 Filed: 08/20/21 Page 1 of 2 PageID #:93




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
________________________________________

 STEWART ABRAMSON, individually and on
 behalf of a class of all persons and entities
 similarly situated,

                Plaintiff,
                                                     Case No. 1:21-cv-02215
 vs.

 NORDIC ENERGY SERVICES LLC,
 WORLDWIDE TELECOM LLC and TINA
 PERROTTI

                Defendants.



                     PLAINTIFFS’ NOTICE OF DISMISSAL AS TO
                   WORLDWIDE TELECOM LLC AND TINA PERROTTI

        The Plaintiff Stewart Abramson files Notice of Dismissal with Prejudice for Worldwide

Telecom LLC and Tina Perrotti pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) with respect to

Worldwide Telecom LLC and Tina Perrotti. The putative class claims are dismissed without

prejudice.




                                            Respectfully submitted,

                                            /s/ Anthony I. Paronich
                                            Anthony I. Paronich
                                            Paronich Law, P.C.
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                                            Counsel for Plaintiff
    Case: 1:21-cv-02215 Document #: 23 Filed: 08/20/21 Page 2 of 2 PageID #:94




Dated: August 20, 2021

                              CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed through the Court’s CM/ECF

system on August 20, 2021.

                                          /s/ Anthony I. Paronich
                                          Anthony I. Paronich




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